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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
DAWN MARIE HUNT-COLEMAN,

                                   Plaintiff,                             23 CIVIL 5049 (LJL)

                 -v-                                                        JUDGMENT

COMMISSIONER OF SOCIAL SECURITY,

                                    Defendant.
-----------------------------------------------------------------X



        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Stipulation and Order dated July 8, 2024, that the Court AFFIRMS the final

decision of the Commissioner. Plaintiff's motion for judgment on the pleadings is DENIED. The

case is therefore DISMISSED.

Dated: New York, New York

          July 8, 2024


                                                                         DANIEL ORTIZ
                                                                        Acting Clerk of Court


                                                             BY:
                                                                     _________________________
                                                                            Deputy Clerk
